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     Fabric Selection, Inc.
   8
                           UNITED STATES DISTRICT COURT
   9
           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  10
  11
     FABRIC SELECTION, INC., a                         Case No. 2:17-cv-05721-CAS(AFMx)
  12 California corporation,
                                                       [PROPOSED] ORDER
  13                    Plaintiff,                     CONTINUING MEDIATION
                                                       COMPLETION DATE
  14              vs.
                                                       Filed Concurrently With Stipulation To
  15 TOPSON DOWNS OF CALIFORNIA,                       Continue Mediation Completion Date
     INC., a California corporation; WAL-
  16 MART STORES, INC., a Delaware                     Trial Date:        October 30, 2018
     corporation; DANIEL
  17 ABRAMOVITCH, an individual; and                   Current Settlement Cut-Off:  04/06/18
     DOES 1 through 50, Inclusive,                     Proposed Settlement Cut-Off: 05/21/18
  18
                  Defendants.                          Current Status Conference:      04/16/18
  19                                                   Proposed Status Conference:     06/04/18
  20
  21              The parties to this action, Plaintiff Fabric Selection, Inc. (“Plaintiff”), and
  22 Defendants Topson Downs of California, Inc., Wal-Mart Stores, Inc. and Daniel
  23 Abramovitch (collectively “Defendants”), have submitted a Stipulation to Continue
  24 Settlement Completion Cutoff through their attorneys of record.
  25              Based on said stipulation, and other good cause appearing therefor, the Court
  26 ORDERS that the Civil Trial Scheduling Order in this litigation is modified as to the
  27 Settlement Completion Cutoff as follows:
  28

       613234.1
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   1 Event                                      Current Date        Proposed Date
   2 Settlement Completion Cutoff               04/06/18            05/21/18
     Status Conference re Settlement            04/16/18            06/04/18
   3                                                                at 11:00 A.M.
   4
   5              IT IS SO ORDERED.
   6 DATED: April 4, 2018
   7
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   9                                     Hon. Christina S. Snyder

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   1                               PROOF OF SERVICE
   2              Fabric Selection, Inc. v Topson Downs of California, Inc.
                             Case No. 2:17-cv-05721-CAS-AFM
   3
       STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
   4
            At the time of service, I was over 18 years of age and not a party to this
   5 action. I am employed in the County of Los Angeles, State of California. My
     business address is 1840 Century Park East, 17th Floor, Los Angeles, CA 90067.
   6
            On April 3, 2018, I served true copies of the following document(s) described
   7 as  [PROPOSED]        ORDER CONTINUING MEDIATION COMPLETION
     DATE on the interested parties in this action as follows:
   8
            Erica J. Van Loon                       Attorneys for Defendants Topson
   9        evanloon@glaserweil.com                 Downs of California, Inc., Daniel
            Brittany Elias                          Abramovitch, and Wal-Mart Stores,
  10        belias@glaserweil.com                   Inc.
            GLASER WEIL FINK HOWARD
  11        AVCHEN & SHAPIRO LLP
            10250 Constellation Boulevard, 19th
  12        Floor
            Los Angeles, CA 90067
  13
            BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
  14 the document(s) with the Clerk of the Court by using the CM/ECF system.
     Participants in the case who are registered CM/ECF users will be served by the
  15 CM/ECF system. Participants in the case who are not registered CM/ECF users will
     be served by mail or by other means permitted by the court rules.
  16
            I declare under penalty of perjury under the laws of the United States of
  17 America that the foregoing is true and correct and that I am employed in the office
     of a member of the bar of this Court at whose direction the service was made.
  18
            Executed on April 3, 2018, at Los Angeles, California.
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                                                     /s/ Nazia Rahman
  21                                           Nazia Rahman
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